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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN


 ROBERT CARLSON, Personal
 Representative of the Estate of Craig
 Carlson,
                                                Hon. Paul L. Maloney
       Plaintiff,
                                                Case No. 1:08-cv-0991-PLM
 v.

 SCOTT FEWINS, et al.,

       Defendants,
 ________________________________/

                                       ORDER

      Defendants filed a motion seeking to strike plaintiff’s expert witness, Ernest

Burwell, and in the alternative, to limit Mr. Burwell’s trial testimony. (ECF

No. 355). In the same motion, defendants ask the Court to compel Mr. Burwell to

produce “his employment file with the Los Angeles County Sheriff’s Department.”

(ECF No. 355, PageID.5676-77). Defendants’ motion violates a number of the

Court’s local rules.

      First, with respect to the motion to compel production of Mr. Burwell’s

employment file, defendants fail to cite to any federal rule of civil procedure, any

local rule, or any other authority to support the relief they seek. See W.D. MICH.

LCIVR 7.1(a). In addition, defendants’ motion fails to “set forth verbatim, or have

attached, the relevant discovery request and answer or objection,” W.D. MICH.

LCIVR 7.1(b), relating to their efforts to obtain these documents in discovery.
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       To the extent defendants provide information regarding their efforts to obtain

the documents in question, that information indicates that defendants’ counsel

made an informal request and was advised to make a formal discovery request:

       MR. COOKE:         Do you have any objection to me obtaining a copy of
                          the employment file?

       MR. PARSONS:       Yeah, it’s irrelevant. You can go through
                          procedures.

       MR. COOKE:         It’s irrelevant?

       MR. PARSONS:       Yeah. Go through – he’s not going to give it to you.
                          Everything comes from me, so make the request to
                          me and then let me talk to him.

       MR. COOKE:         All right.

(Burwell Dep. at 194, ECF No. 355-3, PageID.5896). 1 Defendants offer nothing to

suggest that they followed up with their counsel’s agreement to make a formal

discovery request for the employment file. Accordingly, defendants’ motion to

compel production of Mr. Burwell’s employment file will be dismissed without

prejudice.




1In the title of the motion, defendants indicate that they are also seeking to compel
production of some unspecified “subpoenaed” documents (ECF No. 355,
PageID.5657), but they not only fail to provide a copy of the subpoena, they fail to
address this issue in their brief. Accordingly, this issue would be deemed waived, had
the Court considered the motion. See Clemente v. Vaslo, 679 F.3d 482, 497 (6th Cir.
2012); see also McPherson v. Kelsey, 125 F.3d 989, 995-96 (6th Cir. 1997) (“[I]ssues
adverted to in a perfunctory manner, unaccompanied by some effort at developed
argumentation, are deemed waived. It is not sufficient for a party to mention a
possible argument in the most skeletal way, leaving the court to . . . put flesh on its
bones.”).
                                           2
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      Second, defendants’ motion to strike Mr. Burwell as an expert witness greatly

exceeds the ten-page limit for non-dispositive motions. See W.D. MICH. LCIVR

7.3(b). They did so without seeking leave of Court. Defendants’ belated motion to

exceed the page limit (ECF No. 358) fails to establish good cause for a 21-page brief.

Accordingly,

      IT IS ORDERED that defendants’ motion to strike plaintiff’s expert and to

compel production of Mr. Burwell’s employment file (ECF No. 355) is DISMISSED

without prejudice.

      IT IS FURTHER ORDERED that defendants’ motion to exceed the page

limitation (ECF No. 358) is DISMISSED as moot.

      IT IS FURTHER ORDERED that plaintiff’s motion (ECF No. 357) to strike

defendants’ motion regarding Mr. Burwell (ECF No. 355), and plaintiff’s motion

(ECF No. 361) to extend time and the page limitation for responding to defendants’

motion are DISMISSED as moot.

      IT IS SO ORDERED.



Date: October 13, 2017
                                              /s/Phillip J. Green
                                              PHILLIP J. GREEN
                                              United States Magistrate Judge




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